                      Case
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FORM nhgnrlp (Rev. 06/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Northern District of Florida
                                            Gainesville Division

In Re: Brian Malcolm Elsmore                                     Bankruptcy Case No.: 18−10341−KKS
       SSN/ITIN: xxx−xx−7348
        Debtor
       Mercedes Elsmore                                          Chapter: 7
       aka Mercedes Buenrostro                                   Judge: Karen K. Specie
       SSN/ITIN: xxx−xx−8889
        Joint Debtor


                                       Notice of Non Evidentiary Hearing

   PLEASE TAKE NOTICE that a hearing to consider and act upon the following will be held at 110 E. Park
Avenue, 2nd Floor Courtroom, Tallahassee, FL 32301, on October 17, 2019, at 10:30 AM, Eastern Time.

        42 − Consent Motion to Sell Property Free and Clear of Liens under Section 363(f) [fee amount
        $181] filed by Theresa M. Bender on behalf of Theresa M. Bender. (Bender, Theresa)

Dated: October 8, 2019                                    FOR THE COURT
                                                          Traci E. Abrams, Clerk of Court
                                                          110 E. Park Ave., Ste. 100
                                                          Tallahassee, FL 32301


SERVICE: Theresa Bender shall serve notice of this hearing immediately by facsimile or email on all parties as
required by the applicable Rules and a certificate of service must be filed immediately thereafter.
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF FLORIDA
                                   GAINESVILLE DIVISION

IN RE:                                           )
                                                 )
Brian Elsmore                                    )      Case # 18-10341
Mercedes Elsmore                                 )      Chapter 7
                                                 )
              Debtors                            )

CONSENT CHAPTER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE OF REAL
PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m), (II) SURCHARGE AGREEMENT BETWEEN
      SECURED LENDER AND THE ESTATE AND (III ) OTHER RELIEF (DOC. )
                         (WITH CONSENT OF SECURED LENDER)

       Theresa M. Bender (the “Trustee”), duly appointed Chapter 7 Trustee for the above referenced

debtors (the “Debtors”) pursuant to Sections 105 and 363 of the Bankruptcy Code hereby files this

motion (“Motion”) for entry of an order for authority to sell certain real property free and clear of all

liens, encumbrances, and interests. In support thereof, the Trustee respectfully states as follows:

                                              JURISDICTION

       1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M), (N), and

(O).

       2.     Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

       3.     The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal Rules of

Bankruptcy Procedure 2002 and 6004.

                                             BACKGROUND

       4.     On 12/20/2018 the Debtors commenced this case by filing a voluntary petition for relief

under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).

       5.     Theresa M. Bender is the duly appointed and qualified Chapter 7 Trustee.
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        6.       The Trustee held and concluded the 341 meeting of creditors on 02/13/2019.

        7.       The Debtors scheduled a 100% ownership interest in the real property located at 4025

NORTHWEST 35TH STREET GAINESVILLE, FL 32605 (the “Property”) and legally described as

follows:

LOT 25, OF A REPLAT OF LOTS 1-5, 7, 8, 19-36, AND 39-43 OF SABLE CHASE CLUSTER
SUBDIVISION, PHASE I, ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
BOOK P, PAGE 97, OF THE PUBLIC RECORDS OF ALACHUA COUNTY, FLORIDA.

        8.       The Debtors scheduled the Property as having a value of $210,000.00 subject to a

mortgage in favor of Mr. Cooper (the “Secured Creditor(s)”) in the amount owed on the Petition Date

of approximately $179,752.00


        9.       The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™1, sales analysis report and opinion of value for the Property provided by BK Global

(“BKRES”) and Listing Agent, has determined it to be in the best interest of the Debtors estate and all

creditors to negotiate to obtain Secured Creditor’s agreement and consent (“Consent”) to:

                 a. sell the Property to whichever third party Trustee determines to have made the best

                      qualified offer during a public sale approved by the Court;

                 b. release the Senior Mortgage and otherwise waive all of its claims against the estate

                      with respect to the Property (including any deficiency claims resulting from the

                      proposed sale); and

                 c. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated with the

                      proposed sale, including the payment of a 6% real estate brokerage commission to

                      BKRES and Listing Agent and reimbursement of their out-of-pocket expenses, and


1
 The BK Score™ is a 100-point rating that is generated by a proprietary algorithm from 10 unique property attributes in order to
consistently measure sales confidence and predict market value.
                                                                                                                                   2
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                   provide a carve out for the benefit of allowed unsecured creditors of the Debtors

                   estate.

       10. The Secured Creditor has represented and warranted that it possesses a valid, perfected,

enforceable and unavoidable first mortgage lien on the Property by virtue of a promissory note and

mortgage recorded in the Official Records Book of Alachua County, Florida, consisting of principal

and Interest (the “Secured Creditor Indebtedness”).

                                           RELIEF REQUESTED

       11.    The Trustee requests the entry of an order pursuant to Section 363 of the Bankruptcy

Code approving the sale of the Property, using the services of BKRES and Listing Agent, free and clear

of all liens, claims, encumbrances, and interests. As a material inducement to the Trustee’s decision to

pursue the proposed sale, the Secured Creditor consents to the Property’s sale and the creation of a

carve-out fund (the “Carve-Out Fund”) that will provide for the costs of this case to be paid and

provide a recovery for other creditors. The Trustee requests that any creditor (other than the Secured

Creditor) asserting an interest or secured claim against the Property be required to assert no later than 5

days prior to the hearing on the instant Motion, and substantiate the basis for such asserted interest or

secured claim, or the Court will authorize the sale of the Property free and clear of any such asserted

interest or security interest, with such claims, at best, being treated as a general unsecured claim.

                                            BASIS FOR RELIEF

              A.      The Sale of the Property Should Be Approved

       12.    The Trustee seeks the Court’s authority to sell the Property free and clear of all liens,

claims, encumbrances, and interests, but otherwise “As-Is, Where-Is” and without representations or

warranties of any type, express or implied, being given by the Trustee and his professionals, pursuant

to the Sale procedures described below.

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       13.    Pursuant to Section 363(b) of the Bankruptcy Code, a Trustee, after notice and hearing,

may use, sell, or lease property of the Debtors estate other than in the ordinary course of business. The

Court should approve the sale if the Trustee can demonstrate a sound business justification for the sale

and if the sale process is fair, open, and reasonable. See Official Comm. Of Unsecured Creditors of LTV

Aerospace & Defense Co. v. LTV Corp. (In re Chateaugay Corp.), 973 F.2d 141, 143 (2d Cir. 1992);

see also In re Sarah’s Tent, LLC, 396 B.R. 571, 573 (Bankr. S.D. Fla. 2008). Further, Bankruptcy Rule

6004(f) contemplates sales outside of the ordinary course of business.

       14.    The Trustee, through the services of BKRES and Listing Agent, have listed the property

and accepted an offer that has been approved by the Secured Creditor and will result in a carve-out for

the Bankruptcy Estate of $10,125.00. Attached as Exhibits “A” and “B” respectively are the settlement

statement and letter of consent/approval from the Secured Creditor.

       15.    Accordingly, the Trustee submits that the sale of the Property pursuant to the above

process is reasonable under Section 363(b) of the Bankruptcy Code.

       B.     The Sale of the Property Should Be Approved Free and Clear of All Interests

       16.    Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee may sell property free

and clear of any interest in such property in an entity other than the estate if (1) permitted under

applicable non-bankruptcy law; (2) the party asserting such interest consents; (3) the interest is a lien

and the purchase price at which the property is to be sold is greater than the aggregate value of all liens

on the property; (4) the interest is the subject of a bona fide dispute; or (5) the party asserting the

interest could be compelled, in a legal or equitable proceeding, to accept a money satisfaction for such

interest. See In re Smart World Techs., LLC, 423 F.3d 166, 169 n.3 (2d Cir. 2005) (“Section 363

permits sales of assets free and clear of claims and interests . . . It thus allows purchasers . . . to acquire

assets [from a debtor] without any accompanying liabilities.”); see also In re MMH Auto. Group, LLC,

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385 B.R. 347, 367 (Bankr. S.D. Fla. 2008).

           17.      The Trustee states that she shall satisfy Section 363(f)(2) of the Bankruptcy Code

because the Secured Creditor consents to a sale of the property under Section 363(f)(2) of the

Bankruptcy Code, free and clear of all liens, claims, encumbrances, and interests.

           18.     The Trustee requests that any creditor (other than the Secured Creditor) asserting an

interest or secured claim against the Property, after proper notice is given, be required to timely assert

and substantiate the basis for such asserted interest or secured claim, by filing and serving responsive

papers no later than 5 days prior to the hearing on the instant Motion, or the Court will authorize the

sale of the Property free and clear of any such asserted interest or security interest, with such claims, at

best, being treated as a general unsecured claim.2 Failure to object after proper notice and opportunity

to object is deemed consent. See BAC Home Loans Servicing LP v. Grassi, 2011 WL 6096509 (1st Cir.

BAP Nov. 21, 2011); Citicorp Homeowners Servs., Inc. v. Elliott, 94 B.R. 343 (E.D. Pa. 1988); In re

Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985); Futuresourse LLC v. Reuters Ltd., 312 F.3d 281 (7th Cir.);

In re Harbour E. Dev., Ltd., 2012WL1851015, at *12 (Bankr. S.D. Fla., May 21, 2012). A Title

Commitment has been prepared by the closing agent/title company.

           19.      Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks

authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but

otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the Trustee

or his professionals. Notwithstanding that the Trustee will seek authority to execute all documents and

instruments he deems reasonable, necessary and/or desirable to close the sale, the only documents that

the Trustee shall be required to deliver to close shall be (a) a Trustee’s Deed, and (b) a copy of the

Final Sale Order.


2
    The Trustee reserves the right to dispute the alleged amount of any such claim both to validity and amount.
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       20.    The Secured Creditor agrees to pay at closing (1) all outstanding real estate taxes,

including any prorated amounts due for the current tax year; (2) if applicable, the lesser of any HOA

fees accrued post-petition or the equivalent to twelve months’ assessments and (3) all closing costs

excluding professional fees but including State Documentary Stamps for the entire closing price

pursuant to Florida Statue Sections 201.01 and 201.02; (4) the carve out to the Trustee. Any payments

by the Secured Creditor as stated herein shall be subject to any and all limitations on the Secured

Creditor’s liability for any fees and costs under applicable law.

       C.     The Sale Will Be Undertaken by the Buyer in Good Faith

       21.    Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest in

property purchased from a debtor notwithstanding that the sale conducted under section 363(b) was

later reversed or modified on appeal.

       22.    The sale should be found to have been in good faith if the Trustee can demonstrate the

transaction occurred at arm’s-length and without fraud or collusion. See Kabro Assocs. of West Islip,

LLC v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d 269, 276 (2d Cir. 1997) (“Typically,

the misconduct that would destroy a purchaser’s good faith status at a judicial sale involves fraud,

collusion between the purchaser and other bidders or the trustee, or an attempt to take grossly unfair

advantage of other bidders.” (citation omitted)); see also In re Lorraine Brooke Associates, Inc., No.

07-12641 2007 WL 2257608 (Bankr. S.D. Fla. Aug. 2, 2007) (holding that a sale was entitled to the

protections of Section 363(m) of the Bankruptcy Code when it was based upon arm’s length bargaining

and without collusion).

       23.    The Trustee asserts that the sale of the Property will utilize a competitive and transparent

marketplace that facilitates an arm’s-length sale without fraud or collusion. Accordingly, the Trustee

respectfully requests that the Court find that the purchaser(s) will be entitled to the protections of

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Section 363(m) of the Bankruptcy Code.

       24.    The Trustee further states that:

              (a)    the Trustee has reviewed the tax implications of the proposed Sale and has

determined that the proposed sale will not result in a capital gains tax event to the estate or other

taxable event which would negate the benefit realized from the Carve Out;

              (b)    the Trustee has determined, based upon a review of the schedules and information

derived from the 341 meeting, that there will likely be a meaningful distribution to creditors based

upon the understanding that the final sale price and the total dollar amount of claims to be filed in this

case are both unknown and can only be estimated at this time; and

              (c)    Given the information available at this time, the Trustee has made an educated

evaluation and determined that the proposed Sale is in the best interest of the estate and its creditors.

       25.    Time is of the essence. The Secured Creditor consent depends upon closing by October

31, 2019. This Motion is filed Expedite for that reason.

       26. The Trustee respectfully requests that this Court: (a) waive the 14 day stay pursuant to Rule

6004(h), deem the sale order enforceable immediately upon entry, and authorize the Trustee to close on

the sale immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take all actions

and execute all documents he deems reasonable, necessary and/or desirable to effectuate the requested

relief; (c) retain sole and exclusive personal subject matter jurisdiction to implement, interpret and

enforce the terms of the this Motion and the Final Sale Order; and (d) adjudicate all claims,

controversies and/or disputes arising from or related to the proposed sale.




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                                              CONCLUSION

       WHEREFORE, the Trustee respectfully requests that the Court enters an Order approving the

short sale of the Property pursuant to Sections 105 and 363 of the Bankruptcy

Code and for such other and further relief as this Court deems just and equitable under the

circumstances of the case.

RESPECTFULLY SUBMITTED,
                                                  /s/Theresa M. Bender
                                                  Theresa M. Bender, Trustee
                                                  P.O. Box 14557
                                                  Tallahassee, FL 32317
                                                  Phone: (850) 205-7777
                                                  E-mail: tmbenderch7@gmail.com


                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been furnished via first-
class United States Mail, postage prepaid, or via electronic mail this 8 day of October, 2019 to:

By U.S. Mail/ECF

   Brian Elsmore & Mercedes Elsmore, - 4025 NORTHWEST 35TH STREET, GAINESVILLE, FL 32605;

   Mr. Cooper, 8950 Cypress Waters Blvd, Coppell, TX 75019

   Barbara A. Cusumano on behalf of Debtor Brian Malcolm Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Barbara A. Cusumano on behalf of Joint Debtor Mercedes Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Elizabeth Eckhart on behalf of Creditor U.S. Bank National Association, as Trustee for Lehman XS Trust
   Mortgage Pass-Through Certificates, Series 2007-7N
   eeckhart@logs.com, electronicbankruptcynotices@logs.com
   MCCOY ANDERSON, GATOR HOMES, 21727 SE 69TH AVE, HAWTHORNE, FL. 32640

   PATRICK BUTLER, PBUTLER@BKGINC.COM

   United States Trustee, USTPRegion21.TL.ECF@usdoj.gov


                                                  /s/Theresa M. Bender

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 American Land Title Association                                                                       ALTA Settlement Statement - Cash
                                                                                                                    Adopted 05-01-2015


                                                                Bright Line Title, LLC
                                                             ALTA Universal ID: 1101418
                                                             5404 Cypress Center Drive
                                                                      Suite 150
                                                                  Tampa, FL 33609


 File No./Escrow No. :               BFL19-67533
 Print Date & Time:                  October 7, 2019 3:35 pm
 Officer/Escrow Officer :
 Settlement Location :

  Property Address:                  4025 NW 35th Street
                                     Gainesville, FL 32605
  Buyer:                            Shawn Ingram
                                    4025 NW 35th Street
                                    Gainesville, FL 32605
  Seller:                           Theresa M. Bender, as Trustee for the Bankruptcy Estate of Brian and Mercedes Malcolm
                                    Elsmore

  Settlement Date:                  November 01, 2019
  Disbursement Date:                November 01, 2019


                   Seller                                            Description                                        Buyer
         Debit                 Credit                                                                          Debit                Credit
                                                 Financial
                               202,500.00 Sale Price of Property                                               202,500.00
                                          Deposit                                                                                      2,000.00


                                                 Prorations/Adjustments
            3,562.23                             County Taxes                                                                          3,562.23
                                                   01/01/19 - 11/01/19


                                                 Title Charges and Escrow/Settlement Charges
              150.00                             Doc Prep to Bright Line Title, LLC
            1,400.00                             Settlement/Closing Fee to Bright Line Title, LLC                   850.00
              350.00                             Title Search & Exam Fee to Bright Line Title, LLC
              150.00                             Title Search Update (2) to Bright Line Title, LLC
                                                 Owner's Title Insurance to Bright Line Title, LLC                1,087.50
                                                    Coverage: 202,500.00
                                                    Premium: 1,087.50


                                                 Commissions
            8,100.00                             Listing Agent Commission to Gator Homes Realty




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                   Seller                                            Description                                         Buyer
         Debit                 Credit                                                                           Debit                Credit
                                                 Commissions (continued)
           4,050.00                              Selling Agent Commission to Golden Rule Real
                                                 Estate


                                                 Government Recording and Transfer Charges
                                                 Recording Fees to Clerk of Circuit Court                             91.00
           1,417.50                              FL - State Deed Transfer Tax to Clerk of Circuit
                                                 Court


                                                 Payoff(s)
       170,130.27                                Payoff of First Mortgage Loan to Mr. Cooper
                                                   Loan Payoff                               0.00
                                                                   Total Payoff        170,130.27


                                                 Miscellaneous
                                                 Association Fee to Sable Chase Cluster                               90.00
                                                 Subdivision Community Associat
         10,125.00                               BK Estate fee to Theresa M. Bender, as Trustee for
                                                 the Bankruptcy E
             395.00                              Closing Fee to Ocean Title
             100.00                              Court Order pnd approval 11 U.S.C. § 506(c) to BK
                                                 Global
           2,220.00                              HOA Dues/Fees to Sable Chase Cluster
                                                 Subdivision Community Associat
             350.00                              Lien Search Fee to Coast 2 Coast Lien Search &
                                                 Mitigation Service, LL
                                                 November Assessment to Sable Chase Cluster                           90.00
                                                 Subdivision Community Associat

                    Seller                                                                                               Buyer
        Debit                  Credit                                                                           Debit                Credit
       202,500.00              202,500.00                           Subtotals                                   204,708.50              5,562.23
                                                                 Due from Buyer                                                      199,146.27
       202,500.00              202,500.00                             Totals                                    204,708.50           204,708.50




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   Acknowledgement
   We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts
   and disbursements made on my account or by me in this transaction and further certify that I have received a copy of the
   ALTA Settlement Statement. We/I authorize Bright Line Title, LLC to cause the funds to be disbursed in accordance with
   this statement.


   Buyer


   ___________________________________
   Shawn Ingram

   Seller


   Theresa M. Bender, as Trustee for the Bankruptcy Estate of Brian and Mercedes Malcolm Elsmore

   BY:________________________________




   Settlement Agent




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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         GAINESVILLE DIVISION
IN RE: ELSMORE, BRIAN MALCOLM                                   CASE NO: 18-10341
       ELSMORE, MERCEDES AKA BUENROSTRO,                        DECLARATION OF MAILING
       MERCEDES
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 10/9/2019, I did cause a copy of the following documents, described below,
NOTICE OF HEARING
MOTION TO SELL PROPERTY OF THE ESTATE




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 10/9/2019
                                                          /s/ Theresa M. Bender
                                                          Theresa M. Bender 749486
                                                          THERESA M. BENDER, TRUSTEE.
                                                          PO BOX 14557
                                                          TALLAHASSEE, FL 32317
                                                          850 205 7777
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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              GAINESVILLE DIVISION
 IN RE: ELSMORE, BRIAN MALCOLM                                          CASE NO: 18-10341
        ELSMORE, MERCEDES AKA BUENROSTRO,
                                                                        CERTIFICATE OF SERVICE
        MERCEDES
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 10/9/2019, a copy of the following documents, described below,

NOTICE OF HEARING
MOTION TO SELL PROPERTY OF THE ESTATE




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 10/9/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Theresa M. Bender
                                                                            THERESA M. BENDER, TRUSTEE.
                                                                            PO BOX 14557
                                                                            TALLAHASSEE, FL 32317
                        Case 18-10341-KKS
PARTIES DESIGNATED AS "EXCLUDE"                   Doc
                                WERE NOT SERVED VIA    48FIRST
                                                    USPS     Filed 10/09/19
                                                               CLASS MAIL      Page 18 of 22
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                AMERIS BANK                              BK GLOBAL REAL ESTATE SERVICES
1LABEL MATRIX FOR LOCAL NOTICING         THE LILES FIRM PA                        1095 BROKEN SOUND PARKWAY SUITE 200
11291                                    301 WEST BAY STREET SUITE 1030           BOCA RATON FL 33487-3503
CASE 18-10341-KKS                        JACKSONVILLE FL 32202-5103
NORTHERN DISTRICT OF FLORIDA
GAINESVILLE
WED OCT 9 11-40-12 EDT 2019



PRA RECEIVABLES MANAGEMENT LLC           US BANK NATIONAL ASSOCIATION AS          AMERIS BANK
PO BOX 41021                             TRUSTEE F                                CO ROBERT B GEORGE ESQ
NORFOLK VA 23541-1021                    CO LINDSEY SAVASTANO                     THE LILES FIRM PA
                                         SHAPIRO FISHMAN GACHE LLP                301 WEST BAY STREET SUITE 1030
                                         2424 NORTH FEDERAL HIGHWAY SUITE 360     JACKSONVILLE FL 32202-5103
                                         BOCA RATON FL 33431-7701




US BANK NATIONAL ASSOCIATION             ALLFAST                                  ALLIED BUILDING PRODUCTS CORP
CO LINDSEY SAVASTANO                     3005 SW WILLINGTON RAOD                  15 E UNION AVENUE
SHAPIRO FISHMAN GACHE LLP                GAINESVILLE FL 32608-3928                EAST RUTHERFORD NJ 07073-2127
2424 NORTH FEDERAL HIGHWAY SUITE 360
BOCA RATON FL 33431-7701




ALLIED BUILDING SUPPLY CORP              ALLSTATE INSURANCE                       ALTERNATIVE COLLECTIONS LLC
CO WILLILAM LINDEMAN ESQ                 CREDIT COLLECITONS SERVICE               65 LAWRENCE BELL DRIVE
PO BOX 3506                              725 CANTON STREET                        BUFFALO NY 14221-7182
ORLANDO FL 32802-3506                    NORWOOD MA 02062-2679




AMERIS BANK                              ANGIES LIST                              ARDELIA CHARLSTON
225 SOUTH MAIN ST                        1030 E WASHINGTON STREET                 5007 MAGNOLIA VALLEY DRIVE
MOULTRIE GA 31768-4576                   INDIANAPOLIS IN 46202-3953               JACKSONVILLE FL 32210-4896




ARIELA GRODENS                           ASPIREEMERGE                             BANK OF AMERICA
7120 NE 19TH AVENUE                      ATTN BANKRUPTCY                          PO BOX 982238
GAINESVILLE FL 32641-2787                PO BOX 105555                            EL PASO TX 79998-2238
                                         ATLANTA GA 30348-5555




BANK OF AMERICA MERCHANT                 BEACON SALES ACQUISITION INC             BRIAN VAN ALLEN
14141 SW FREEWAY                         DBA ALLIED BUILDING PRODUCTS             CO JONES LAW FIRM
SUGAR LAND TX 77478-3493                 CO NANCY GANNON                          10752 DEERWOOD PK STE 100
                                         15 EAST UNION AVE                        JACKSONVILLE FL 32256-4846
                                         EAST RUTHERFORD NJ 07073-2127




CAN CAPITAL                              CSH PROPERTY ONE LLC                     CAPITAL ONE
2015 VAUGH ROAD SUITE 500                INVITATION HOMES                         PO BOX 30285
KENNESAW GA 30144-7831                   8665 EAST HARTFORD AVE SUITE 200         DALLAS ME 04113
                                         SCOTTSDALE AZ 85255-7807




CAPITAL ONE                              CAVALRY PORTFOLIO SERVICES               CAVALRY SPV I LLC
PO BOX 619094                            ATTN BANKRUPTCY DEPARTMENT               500 SUMMIT LAKE DRIVE STE 400
DALLAS ME 04113                          500 SUMMIT LAKE STE 400                  VALHALLA NY 10595-2321
                                         VALHALLA NY 10595-2322
                        Case 18-10341-KKS
PARTIES DESIGNATED AS "EXCLUDE"                   Doc
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PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CHARITEE GEROW                           CHOICE RECOVERY INC                      CITY ELECTRIC
4872 VICTORIA CHASE DRIVE DRIVE          1550 OLD HENDERSON ROAD                  CO MILENE LAW GROUP
JACKSONVILLE FL 32257-5206               STE 100                                  545 DELANEY AVE BUILDING 9
                                         COLUMBUS OH 43220-3662                   ORLANDO FL 32801-3866




CITY ELECTRIC SUPPLY COMPANY             CLAY ELECTRIC                            CONSOLIDATED ELECTRICAL DISTRIBUTORS
545 DELANEY AVENUE BLD 7                 PO BOX 308                               IN
ORLANDO FL 32801-3866                    KEYSTONE HEIGHTS FL 32656-0308           CO JEFFREY STULL ESQ
                                                                                  602 SOUTH BLVD
                                                                                  TAMPA FL 33606-2630




CREDIT COLLECTIONS USA LLC               CRYSTAL SPRINGS                          DATA PUBLISHING
16 DISTRIBUTOR DRIVE                     6720 DISCOVERY BLVD                      PO BOX 3770
SUITE 1                                  MABLETON GA 30126                        BLUFFTON SC 29910-3770
MORGANTOWN WV 26501-7209




DAVID SMITH                              DIRECTV LLC                              DISCOVER BANK
11332 SW 139TH PLACE                     BY AMERICAN INFOSOURCE AS AGENT          DISCOVER PRODUCTS INC
DUNNELLON FL 34432-5626                  PO BOX 5008                              PO BOX 3025
                                         CAROL STREAM IL 60197-5008               NEW ALBANY OH 43054-3025




DISCOVER FINANCIAL                       DOCUMENT TECH OF NCF                     EDWIN ROXAS
PO BOX 3025                              124 MAGNOLIA AVENUE                      11655 ABIGAIL DRIVE
NEW ALBANY OH 43054-3025                 OCALA FL 34471-1154                      JACKSONVILLE FL 32258-1565




ELSIA KENNEDY                            ESTATE OF DARREN ROWLEY                  FCO FAIR COLLECTIONS
9555 SW 70TH LOOP                        240 SW 131TH STREET                      12304 BALTIMORE AVE
OCALA FL 34481-2562                      NEWBERRY FL 32669-3074                   BELTSVILLE MD 20705-1314




FEDERAL NATIONAL MORTGAGEA ASSOC         FERGUSON                                 FIRST PREMIER BANK
SHD LEGAL GROUP                          10355 SOUTH ORANGE AVENUE                ATTN BANKRUPTCY
PO BOX 19519                             ORLANDO FL 32824-7712                    PO BOX 5524
FORT LAUDERDALE FL 33318-0519                                                     SIOUX FALLS SD 57117-5524




FLORIDA CREDIT UNION                     FRANCISCO MARTINEZ WITTINHAN             GRU
PO BOX 5158                              1753 N CAPPERO DRIVE                     301 SE 4TH AVENUE
GAINESVILLE FL 32627-5158                SAINT AUGUSTINE FL 32092-4767            GAINESVILLE FL 32601-6857




GEXPRO                                   GORMAN                                   GREGORY HALE ESQ
400 TECHNOLOGY CT E                      213 GORMAN DRIVE                         3426 NW 43RD STREET SUITE A
SMYRNA GA 30082-5237                     GAINESVILLE FL 32609                     GAINESVILLE FL 32606-8156
                        Case 18-10341-KKS
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GREYBAR                                  HIBU                                     HOMEADVISOR
1015 SOUTH MAIN STREET                   PO BOX CEDAR RAPIDS                      14023 DENVER WEST PARKWAY
GAINESVILLE FL 32601-7926                CEDAR RAPIDS IA 52406                    BL SUITE 200
                                                                                  GOLDEN CO 80401-3253




INTERNAL REVENUE SERVICE                 INVITATION HOMES                         J ERIC JONES ESQ
CENTRALIZED INSOLVENCY OPERATIONS        8665 EAST HARTFORD AVE SUITE 200         10752 DEERWOOD PARK BLVD
PO BOX 7346                              SCOTTSDALE AZ 85255-7807                 SUITE 100
PHILADELPHIA PA 19101-7346                                                        JACKSONVILLE FL 32256-4846




JOHN VOGEL                               JOSEPH TIERNEY                           KAD HOLDING LLC
8973 SW 86TH LOOP                        12395 ACOSTA OAKE DRIVE                  1325 NW 53RD AVE STE E
OCALA FL 34481-9804                      JACKSONVILLE FL 32258-4224               GAINESVILLE FL 32609-6139




LSOP 3 FL 3 LLC                          LTD FINANCIAL                            LVNV FUNDING LLC
CO COMMNWEALTH COMMERICAL PARTNERSHIP    7322 SOUTHWEST FREEWAY                   PO BOX 740281
PO BOX 856605                            SUITE 1600                               HOUSTON TX 77274-0281
GREENVILLE SC 29615                      HOUSTON TX 77074-2134




LVNV FUNDING LLC                         LIFE ON 24TH                             LOUIS SCHNECK
RESURGENT CAPITAL SERVICES               CO TREY FORD                             25 CORAL REEF CT S
PO BOX 10587                             5051 NW 13TH STREET                      PALM COAST FL 32137-8327
GREENVILLE SC 29603-0587                 GAINESVILLE FL 32609




LOWES BUSINESS CREDIT CARD               MERCEDES BENZ FINANCIAL SERVICES         MICHAEL E MILNE
PO BOX 965060                            PO BOX 685                               545 DELANEY AVENUE BLD 7
ORLANDO FL 32896-5060                    ROANOKE TX 76262-0685                    ORLANDO FL 32801-3866




MOHELA DEPT ED                           MR COOPERUS BANK NATL ASSOCIATE          NINE FASTENERS
633 SPIRIT DRIVE                         ATTN BANKRUPTCY                          233A SOUTH STREET
LINN MO 65051                            8950 CYPRESS WATERS BLVD                 HOPKINTON MA 01748-2208
                                         COPPELL TX 75019-4620




ONEMAIN                                  ONEMAIN FINANCIAL                        PYOD LLC
PO BOX 3251                              ATTN BANKRUPTCY                          RESURGENT CAPITAL SERVICES
EVANSVILLE IN 47731-3251                 601 NW 2ND STREET                        PO BOX 19008
                                         EVANSVILLE IN 47708-1013                 GREENVILLE SC 29602-9008




PAUL WEST USED CARSUS CREDIT INC         PITNEY BOWES                             PLATINUM RAPID FUNDING
3320 N MAIN ST                           PO BOX 5010                              348 RXR PLAZA UNION PLAZA
GAINSVILLE FL 32609-2306                 WOODLAND HILLS CA 91365-5010             UNIONDALE NY 11556
                        Case 18-10341-KKS
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PLATINUM RAPID FUNDING                   PLATINUM RAPID FUNDING GROUP INC         PORTFOLIO RECOVERY ASSOCIATES LLC
CO LINDSEY ROHAN ESQ                     PRYOR MANDELUP LLP CO ANTHONY G          4851 COX ROAD
69 N MORRIS AVENUE                       675 OLD COUNTRY ROAD                     GLEN ALLEN VA 23060-6293
FARMINGVILLE NY 11738-1152               WESTBURY NY 11590-4503




PORTFOLIO RECOVERY ASSOCIATES LLC        REPUBLIC SERVICES                        REVENUE RECOVERY SOLUTIONS INC
PO BOX 41067                             8619 WESTERN WAY                         323 10TH AVENUE WEST
NORFOLK VA 23541-1067                    JACKSONVILLE FL 32256-0360               SUITE 300
                                                                                  PALMETTO FL 34221-5042




ROBERT OLSEN                             ROGER AGRAVANTE                          RONALD ADVEY
5300 N HIGHWAY 314A                      11494 GLEN LAUREL OAKS CIRCLE            41 NATURE BOUNTY CT
SILVER SPRINGS FL 34488-4460             JACKSONVILLE FL 32257-4533               SAINT MARYS GA 31558-3994




SCP                                      SABLE CHASE CLUSTER SUBDIVISION          SATURN FUNDING
PO BOX 85001                             CO ACTION REALTY ASSOCIATES              CO ARIEL BOUSKILA ESQ
ORLANDO FL 32885-0001                    6110-B NW 1ST                            40 EXCHANGE PLACE SUITE 1306
                                         GAINESVILLE FL 32607-6019                NEW YORK NY 10005-2743




SATURN FUNDING LLC                       SETERUS INC                              SHAPIRO FISHMAN GACHE LLP
333 7TH AVENUE                           FEDERAL NATIONAL MORTGAGE ASSOCIATION    4630 WOODLAND CORPORATE BLVD
NEW YORK NY 10001-5125                   ATTN- BANKRUPTCY                         SUITE 100
                                         PO BOX 1077                              TAMPA FL 33614-2429
                                         HARTFORD CT 06143-1077




SHELL SMALL BUSINESS CARD                SHIRLEY LANE                             SOLIGENT
PO BOX 6406                              3972 NW 23RD CIRCLE                      1500 VALLEY HOUSE DRIVE
SIOUX FALLS SD 57117-6406                GAINESVILLE FL 32605-2668                SUITE 210
                                                                                  ROHNERT PARK CA 94928-4938




SYNCHRONY BANKCARE CREDIT                TD BANKRADIUS GLOBAL SOLUTIONS           TJMAXX CREDIT
ATTN BANKRUPTCY DEPT                     PO BOX 390846                            PO BOX 103104
PO BOX 965061                            HOWARD LAKE MN 55349                     ROSWELL GA 30076-9104
ORLANDO FL 32896-5061




TEX TRACY                                THE HOME DEPOT CREDIT SERVICES           THE TROPHY SHOP
8307 SW 152ND AVENUE                     PO BOX 790345                            707 NW 13TH STREET
ARCHER FL 32618-4462                     SAINT LOUIS MO 63179-0345                GAINESVILLE FL 32601-2920




TOM CHARLIER                             TOM AND SHIRLEY LANE                     TOMMY MILLER
210 CRYSTAL COURT                        3792 NW 23RD CIRCLE                      5513 NW CR 229
WINTER HAVEN FL 33880-4910               GAINESVILLE FL 32605                     STARKE FL 32091-8112
                        Case 18-10341-KKS
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TOMMY MILLER                             USA INSULATION                           UNITED STATES TRUSTEE
5513 NW COUNTY ROAD                      5771 MINING TERRACE 103                  110 E PARK AVENUE
STARKE FL 32091                          JACKSONVILLE FL 32257-3230               SUITE 128
                                                                                  TALLAHASSEE FL 32301-7728




VERIZON                                  WELLS FARGO EQUIPMENT                    WHATS HAPPENING PROMOTION
455 DUKE DRIVE                           1010 THOMAS EDISON BL                    7020 NW 11TH PLACE
FRANKLIN TN 37067-2701                   CEDAR RAPIDS IA 52404-8247               GAINESVILLE FL 32605-3144




WHOLESALE SOLAR SUPPLY INC               WILLIAM A FRIEDMAN                       WILLIAM FRIEDMAN
ATTN AQUATHERM POOL HEATING SUPPLY       314 SW 93RD STREET                       314 SW 93RD STREET
EDWARD HALL                              GAINESVILLE FL 32607-6311                GAINESVILLE FL 32607-6311
2213 ANDREA LANE 108
FORT MYERS FL 33912-1934




WILLIAMS NORIEGA ESQ                     YELLOWSTONE CAPITAL                      BARBARA A CUSUMANO
2424 N FEDERAL HIGHWAY SUITE 360         1 EVERTRUST PLAZA 14TH FLOOR             BARBARA A CUSUMANO ATTORNEY AT LAW
BOCA RATON FL 33431-7780                 JERSEY CITY NJ 07302-3088                2727 NW 43RD STREET SUITE 2A
                                                                                  GAINESVILLE FL 32606-6632




DEBTOR                                   MCCOY ANDERSON                           MERCEDES ELSMORE
BRIAN MALCOLM ELSMORE                    GATOR HOMES REALTY                       4306 SW 69TH TERRACE
3710 COTTAGE DRIVE                       21727 SE 69TH AVE                        GAINESVILLE FL 32608-6431
COLORADO SPRINGS CO 80920-7801           HAWTHORNE FL 32640-3954




EXCLUDE
THERESA M BENDER
PO BOX 14557
TALLAHASSEE FL 32317-4557
